 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 1 of 41 PageID# 447


                                                                                               _FILED_
                              UNITED    STATES         DISTRICT     COURT
                              EASTERN    DISTRICT           OF   VIRGINIA                          FEB 1 1 2014
                                       Norfolk         Division

                                                                                         CLERK, US DISTRICT COURT
                                                                                                                  J
PRO-CONCEPTS,         LLC,                                                                         NORFOI K VA

                      Plaintiff,
v.                                                           Civil Action No.                 2:12cv573

TIMOTHY MARK RESH,


                      Defendant.




                                      OPINION AND           ORDER


         This matter          is    currently before               the    Court      on       two    Motions

to Dismiss filed separately by Pro-Concepts,                                   LLC ("Pro-Concepts"

or    "Plaintiff")          and Timothy Mark             Resh      ("Resh"          or   "Defendant").

In    the    first motion,           Plaintiff          moves      for        an    order      dismissing

Defendant's          counterclaims          on    the    grounds         that       Defendant          failed

to    state      a   claim     under    Fed.       R.       Civ.    P.        12(b)(6)         "and/or      to

strike his counterclaims under Fed.                          R. Civ.           P. 12(f)."            ECF No.

21.    The second motion before                   the Court         is Defendant's motion to

dismiss      Plaintiff's           claims    with       prejudice,            which,      as       discussed

below,      the      Court    interprets          as    a    motion           for   judgment          on   the

pleadings         asserting        Plaintiff's          failure          to    state      a    claim       for

relief under Rule 12(b)(6).                      ECF No.     24.

       Plaintiff has filed a response in opposition to Defendant's

motion;     however,         Defendant has         not      filed a reply to                  Plaintiff's

response.            With     regard    to       Plaintiff's         motion,             Defendant         has

failed      to    file   an    opposition         to    Plaintiff's             motion        to    dismiss.
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 2 of 41 PageID# 448




The time for doing so has long since passed with regard to both

motions.     While the Court is cognizant that "[p]arties appearing

pro se should be given some leeway in meeting procedural rules

due to their lack of legal knowledge," Todtman, Nachamie, Spizz

& Johns,     P.C. v. Ashraf,            241 F.R.D.       451,   454     (S.D.N.Y.         2007),

aff'd,    316 F.      App'x 51       (2d Cir.    2009)     (unpublished),           Defendant

has   failed to       file a response or           a motion for an extension of

time and has had almost a year to do so.                         The Court therefore

deems the motions ripe for decision.

      After examination of the briefs                   and the record,             the Court

has   determined        that     a    hearing      on    the     instant        motions       is

unnecessary,       as   the     facts    and    legal    arguments       are     adequately

presented,      and     the     decisional       process        would    not        be     aided

significantly by oral argument.                    See Fed.        R.    Civ.       P.    78(b);

E.D. Va. Loc. Civ.            R. 7(J).     Thus,    the Court DENIES Plaintiff's

Request for a Hearing on these motions.                    ECF No.      26.

      For the reasons that follow, the Court GRANTS, in part, and

DENIES,    in   part,         Plaintiff's       Motion     to    Dismiss        Defendant's

Counterclaims;          and     DENIES      Defendants'         Motion         to        Dismiss

Plaintiff's Claims.


                   I.    FACTUAL AND PROCEDURAL BACKGROUND


      Pro-Concepts       filed the       instant action on October 19,                      2012

asserting seven counts against Resh.                       Pro-Concepts'            Complaint

alleges    causes of action for Trademark Infringement under                                 the
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 3 of 41 PageID# 449



Lanham       Act,    15    U.S.C.       §    1501       et   seq.,      as    amended          (Count    I),

False     Designation        of       Origin       under      15    U.S.C.         §    1125(A)       (Count

II),     Cybersquatting           under           15 U.S.C.         §   1125(d)           (Count      III),

Unfair       Competition         under       Virginia         law       (Count          IV),     Trademark

Dilution under Virginia law (Count V) , Breach of Contract under

Virginia       law    (Count          VI),    and        Conversion          under        Virginia       law

(Count VII).              See,    Compl.,         ECF No.          1.    That           same   day,     Pro-

Concepts separately moved for a preliminary injunction, based on

Counts I,      III, VI, and VII of the Complaint,                                 requiring Resh to:

(1)    cease selling or otherwise promoting a website or services

that use any designs or marks confusingly similar to or dilutive

of Risk Radar;            (2) immediately transfer ownership and control of

the Risk Radar Enterprise ("RRE") website1 to Pro-Concepts;                                              (3)

return any and all copies of software programs belonging to Pro-

Concepts;      and    (4)    cease any and all use of                        Risk Radar software

or any other materials belonging to Pro-Concepts.                                        See, Mot. for

Prelim. Inj., ECF No. 3.

          Resh      twice    moved          for    an    extension           of    time    to     file   an

Answer,      but,    as neither motion sought an                         extension of             time   to

file     a     response          to     Pro-Concepts'              motion          for     preliminary

injunction,         Resh     failed          to     respond        timely          to     that    motion.

However,      Resh did file a separate motion to deny the injunction



1 The "RRE" website constituting the following domain name:
www.riskradarenterprise.com.
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 4 of 41 PageID# 450



on January 15, 2013.               As Resh is proceeding pro-se,                            the Court is

required to construe his                  filings           liberally and the Court                    thus

treated       his     motion        to    deny            injunction          as     a     response        in

opposition.          The Court held a hearing on                              Pro-Concepts'         motion

for     preliminary        injunction          on        Wednesday,          January       16,    2013    at

1:30 p.m. and each side presented testimony and offered argument

in support of their respective positions.                                    At the conclusion of

the   hearing,       Defendant       agreed          to     take      down     the       "RRE"    website,

thus making it         unavailable to               the public during the pendency of

the     case.        The    Court        then        took     Pro-Concepts'                motion     under

advisement      and directed the parties                         to    a     settlement       conference

before a Magistrate Judge.

        On January 23,         2013,      Resh filed his Answer to the Complaint

in    which     he     asserted          twenty-two           (22)         affirmative           defenses,

including       failure       to    state       a    claim       upon        which       relief     can   be

granted,      and seven counterclaims.                       ECF No.          16.        On January 28,

2013,     the       parties        attended          a     settlement           conference          before

Magistrate Judge Prince.                   The case did not settle,                         but as     Pro-

Concepts represented to the Court in their motion to stay filed

on    January        30,    2013,        the        parties        agreed           to     continue       the

settlement       discussions          over          the    ten        (10)    days       following        the

settlement      conference.              ECF        No.    17.         This     Court       granted       the

Agreed Order on Pro-Concepts'                       motion to stay on January 30,                      2013

and stayed the case for ten (10) days.                                ECF No.        18.    However,       in
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 5 of 41 PageID# 451




a February 8,             2013    motion,        Pro-Concepts sought a ruling on its

motion        for     preliminary              injunction,            n[b]ecause             the     harms

described       by    [Pro-Concepts]              in    its     Motion      ...    continue        and    the

issues described therein remain unresolved."                                      Mot. for Ruling on

Prelim.       Inj.    f    10,     ECF.    No.       19.      On     February 20,            2013,       Resh

filed a motion for ruling on his motion to deny injunction.                                               ECF

No. 23.        On October 22,              2013,        the Court          issued a lengthy and

detailed opinion denying Pro-Concepts' request for a preliminary

injunction.          ECF No.       30.

        On    February           19,     2013,       Pro-Concepts           filed        a   motion        to

dismiss Resh's counterclaims for failure to state a claim under

Federal Rule of Civil Procedure 12(b)                              and to strike such claims

pursuant       to    Rule    12(f).            ECF     No.    21.      Resh        has   not       filed    a

response in opposition to this motion.

        However,      on     February          27,      2013,       Resh    filed        a   motion        to

dismiss        Pro-Concepts'               claims            with      prejudice             based         on

representations            Pro-Concepts'             counsel        made      at     the     settlement

conference.           ECF        No.     24.         Pro-Concepts          responded         to     Resh's

motion to dismiss on March 7,                        2013, however,           Resh has not filed

a reply to this response.                      ECF No. 25.           On March 21, 2013, Pro-

Concepts requested a hearing on both pending motions to dismiss.

ECF No.       26.     Subsequently,              the Court          issued a        second order           on

April    1,    2013    directing the parties                    to appear at a settlement

conference before a Magistrate Judge,                               which was         held on April
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 6 of 41 PageID# 452




12, 2013.        ECF No.    28.        The Court then held a telephonic status

conference with the parties upon their request on May 7, 2013.

As noted above,          the Court issued a lengthy Opinion and Order on

October 22,       2013, denying Plaintiff's request for a preliminary

injunction.            Because    that    October       22,    2013    Opinion     and Order

contained a detailed statement of the facts                            of this case,        the

Court will not go into these facts in detail here.

        Having received such written filings, oral testimony, and

oral argument, and having given the parties sufficient time to

try to resolve their dispute in settlement conferences, this

matter is now ripe for decision.

                                 II.   STANDARD OF REVIEW


                        A. Rule 12(b)(6) Motion to Dismiss

        A complaint should be dismissed under Federal Rule of Civil

Procedure 12(b)(6) where it appears that the facts alleged fail

to state a "plausible" claim for relief.                         Ashcroft v.       Iqbal 556

U.S.    662,     678    (2009)    (quoting Bell         Atl.    Corp.      v.   Twombly,    550

U.S.    544,     570 (2007)).          "Factual allegations must be enough to

raise a right to relief above the speculative level ... on the

assumption that all the allegations                       in the complaint are true

(even if doubtful in fact)."                    Twombly,      550 U.S. at 555.         "And,

of     course,    a     well-pleaded          complaint    may    proceed       even   if    it

strikes     a    savvy     judge       that    actual     proof       of   those   facts     is

improbable, and 'that a recovery is very remote and unlikely.'"
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 7 of 41 PageID# 453



Id. at 556.              The Fourth Circuit recently explained the standard

as follows:           "To survive a Rule 12(b)(6)                        motion     to dismiss,       a

complaint           must     establish          'facial          plausibility'        by     pleading

'factual       content       that     allows         the    court    to    draw the        reasonable

inference           that    the     defendant          is     liable       for    the      misconduct

alleged.'" Clatterbuck v. City of Charlottesville, 708 F.3d 549,

554 (4th Cir. 2013)                (quoting Iqbal, 556 U.S. at 678).

        In   assessing         the        merits      of     a    Rule     12(b)(6)        motion    to

dismiss,       a district court                 "'must       accept as           true all of        the

factual allegations                contained in the complaint'                      and    'draw all

reasonable inferences in favor of the plaintiff.'"                                        Kensington

Volunteer Fire Dept.,                Inc. v. Montgomery County,                     Md.,    684 F.3d

462, 467 (4th Cir. 2012)                      (quoting E.I, du Pont de Nemours & Co.

v.    Kolon         Indus.,         637       F.3d     435,       440      (4th     Cir.     2011)).

Furthermore,          a district          court      "may consider documents                attached

to the complaint or the motion to dismiss 'so long as they are

integral to the complaint and authentic.'"                                Kensington Volunteer

Fire Dep't,           684 F.3d at              467    (quoting       Philips v.           Pitt Cnty.

Memorial Hosp.,             572 F.3d 176,            180     (4th Cir.       2009)).        However,

while a district              court must construe well-pled                         facts     in the

light    most        favorable           to    the    plaintiff,           "legal     conclusions,

elements       of    a     cause    of    action,          and bare       assertions       devoid   of

further factual enhancement fail to constitute well-pled facts

for     Rule        12(b)(6)        purposes."               Nemet        Chevrolet,        Ltd.    v.
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 8 of 41 PageID# 454




Consumeraf fairs. com,         Inc. , 591       F.3d    250,    255     (4th    Cir.   2009) .

If   a plaintiff       fails      to    allege      facts    sufficient        to plausibly

infer that such plaintiff is entitled to relief,                          then dismissal

must be granted.

       With these pleading standards in mind,                     the Court must also

consider the prior admonitions of the Supreme court, recognizing

that   the   pleadings       of    a    pro    se   litigant     are     held    to    a   less

stringent standard.          "As the Court unanimously held in Haines v.

Kerner,     a pro se    complaint,            'however inartfully pleaded,'                must

be   held    to    'less     stringent         standards       than    formal     pleadings

drafted by        lawyers'    and can         only be       dismissed    for     failure     to

state a claim if it appears                   '"beyond doubt          that the plaintiff

can prove no set        of     facts     in support of         his     claim which would

entitle him to relief."'"                Estelle v. Gamble,            429 U.S. 97,         106

(1976)    (quoting Haines v. Kerner,                404 U.S.     519, 520-521          (1972))

(internal    citations       omitted);         Erickson v.      Pardus,        551 U.S.     89,

94 (2007); Dolgaleva v.                Virginia Beach City Public Schools,                  364

Fed. Appx. 820       (4th Cir. 2010)            (relying on Atherton v. Dist. Of

Columbia Office of Mayor,               567 F.3d 672, 681-82            (D.C. Cir. 2009)

for the proposition that pro se complaints "must be held to less

stringent standards then formal pleadings" but that "even a pro

se complaint must plead 'factual matter'                       that permits the court

to infer 'more than the mere possibility of misconduct.'").
 Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 9 of 41 PageID# 455




                        B.    Rule 12(f) Motion to Strike


        Federal Rule of Civil Procedure 12(f) provides that "[t]he

court may strike from a pleading an insufficient defense or any

redundant,        immaterial,       impertinent,     or       scandalous              matter."

(emphasis added).            However, as recognized in Whittlestone, Inc.

v.    Handi-Craft Co.,        618 F.3d 970,     974-76 (9th Cir.            2010),          Rule

12(f) is not a proper vehicle for procuring the dismissal of all

or    part   of   a pleading on      the    ground that       it    fails       to state a

claim for relief.            Such relief is better sought by use of Rule

12(b)(6).


        Furthermore,    "Rule 12(f) motions are generally viewed with

disfavor 'because striking a portion of a pleading is a drastic

remedy and because it is often sought by the movant simply as a

dilatory tactic.'"            Waste Mgmt.     Holdings,     Inc.     v.    Gilmore,          252

F.3d 316, 347 (4th Cir. 2001) (quoting 5A A. Charles Alan Wright

& Arthur R. Miller, Federal Practice & Procedure § 1380, 647 (2d

ed. 1990)).        "It is a 'generally accepted view that a motion to

strike for redundancy ought not to be granted in the absence of

a clear showing of prejudice to the movant.'" Builders Mut.                                 Ins.

Co.   v. Dragas Mgmt.         Corp. , 709    F. Supp.     2d 432,         437        (E.D. Va.

2010)     (quoting     5C    Charles   Alan    Wright     &    Arthur           R.     Miller,

Federal      Practice        and   Procedure    §    1382      (3d.        ed.         2004)).

"Nevertheless,       'a defense     that might      confuse        the issues          in    the

case and would not, under the facts alleged,                       constitute a valid
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 10 of 41 PageID# 456




defense to the action can and should be deleted.'"                             Id.

                C. 12(c) Motion for Judgment on the Pleadings

        Federal        Rule     of     Civil       Procedure       12(c)      provides          that

"[a]fter the pleadings are closed-but early enough not to delay

trial-a party may move for judgment on the pleadings."                                    Federal

Rule of Civil           Procedure 12(h)(2)              "provides     that    the defense of

failure to state a claim upon which relief can be granted,                                        as

set     forth     in    Rule        12(b)(6),       may    be    raised      'by    motion       for

judgment on the pleadings                    [pursuant to Rule 12(c)],                  or at    the

trial on the merits.'" Shooting Point, L.L.C. v. Cumming, 238 F.

Supp.    2d 729,       735    (E.D. Va.       2002)     aff'd,    368 F.3d 379          (4th Cir.

2004)    (citing Edwards v. City of Goldsboro,                         178    F.3d 231,         243

(4th Cir.       1999)).        As    such,    the standard of review for a motion

for judgment on the pleadings under Rule 12(c)                               is identical to

that of a motion to             dismiss       for failure to          state a claim under

Rule     12(b)(6),           making     the        decision      as    to     which       applies

irrelevant as a practical matter.                         Id.; see also Burbach Broad.

Co.    of Del,     v.    Elkins       Radio Corp.,         278    F.3d 401,        405-06       (4th

Cir.    2002) .

        Accordingly, the Court will                       assume that the facts
        alleged in the Complaint are                      true and will draw all
        reasonable       inferences           in    Plaintiff's       favor        as    the
        nonmoving party. Burbach, 278 F.3d at 405-06. However,
        while the Court "takefs] the facts in the light most
        favorable to the [P]laintiff, ... [the Court] need not
        accept the legal conclusions drawn from the facts,"
        and "need not accept as true unwarranted inferences,
        unreasonable conclusions or arguments." Giarratano v.

                                                   10
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 11 of 41 PageID# 457




           Johnson, 521 F.3d 298, 302 (4th Cir. 2008)     (quoting
           Eastern Shore Mkts., Inc. v. J.D. Assocs. Ltd. P'ship,
           213 F.3d 175, 180 (4th Cir. 2000)). Additionally, the
           Complaint must allege "enough facts to state a claim
           to relief that is plausible on its face." Id. (citing
           Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127
           S.Ct.    1955,    1974,       167 L.Ed.2d 929            (2007)).

Mendenhall           v.     Hanesbrands,           Inc.,      856     F.   Supp.      2d     717,    723

(M.D.N.C.          2012).       "However, unlike on a Rule 12(b)(6) motion,                           on

a Rule 12(c) motion the Court may consider the Answer as well,"

and the "factual allegations in the Answer are taken as                                        true to

the extent they have not been denied or do not conflict with the

Complaint."               Id.    at      724      (internal         quotations       and     citations

omitted) ; see Fed. R. Civ. P. 8(b)(6)                              ("If a responsive pleading

is     not         required,        an     allegation           is     considered           denied   or

avoided.").               Additionally,           judgment on the pleadings                   is only

appropriate when,               taking all of the non-moving party's factual

allegations as              true,     no   genuine issues             of material       fact    remain

and    the     case       can be      determined         as     a    matter    of    law.    Smith   v.

McDonald,          562 F.Supp.        829, 842       (M.D.N.C.         1983),       aff'd, 737 F.2d

427 (4th Cir. 1984), aff'd,                    472 U.S. 479,           (1985).

                                           III.    DISCUSSION


      A.    Plaintiff's Motion to Dismiss Defendant's Counterclaims

       Plaintiff           requests        dismissal       of       Defendant's       counterclaims

under Fed. R. Civ. Pro. 12(b)(6) and/or Fed. R. Civ. Pro. 12(f),

depending on the counterclaim in question.                                 Therefore,        the Court

will       address Plaintiff's motion to dismiss with regard to each

                                                    11
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 12 of 41 PageID# 458



counterclaim individually.

   1. Counterclaim 1-Declaratory Judgment of Non-Infringement

     Pro-Concepts          requests        that         Resh's       counterclaim                 for

declaratory     judgment     be    stricken        or     dismissed         on    two    bases.

Pro-Concepts'     first     argument        is    that       the    counterclaim             is    a

"mirror image claim" duplicative of both Pro-Concepts claim for

trademark    infringement      and      Resh's     affirmative         defense          of   non

infringement    and    should      be     stricken       under      Rule     12(f).          Pro-

Concepts'    second argument         is    grounded          in   their     assertion        that

the court has     discretion       to decline       to       entertain a         counterclaim

for declaratory judgment such as Resh's.

     While Resh's counterclaim for declaratory judgment of non

infringement    is    duplicative         of     Resh's       affirmative         defense         of

non-infringement      as    well    as     Pro-Concepts            claim    for    trademark

infringement,    it "is a 'generally accepted view that a motion to

strike for redundancy ought not to be granted in the absence of

a clear showing of prejudice to the movant.'" Builders Mut.                                  Ins.

Co., 709 F.     Supp. 2d at 437           (quoting 5C Charles Alan Wright &

Arthur R. Miller,     Federal Practice and Procedure § 1382                          (3d. ed.

2004)).       Pro-Concepts        has     failed        to    make     any       showing          of

prejudice.     Thus, Pro-Concepts'             first argument,             requesting that

the Court strike Defendant's Counterclaim 1 as                             duplicative,           is

not persuasive.

     However,    with respect        to    Pro-Concepts'           second argument,               it

                                           12
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 13 of 41 PageID# 459



is within the court's sound discretion to dismiss counterclaims

for declaratory judgment when those declaratory judgment claims

would be        fully    adjudicated and resolved by                   the     resolution          of

plaintiff's         claims        and        defendant's      asserted               affirmative

defenses.        Wilton v.       Seven Falls Co.,          515 U.S.           277,    283    & 287

(1995).     As Resh's counterclaim for declaratory judgment of non

infringement       would     be     fully      adjudicated       and     resolved           by    the

resolution of Pro-Concepts'                  claim of trademark infringement and

Resh's affirmative defense of non-infringement,                          the Court choses

to   exercise      its     discretion          and     declines     to        entertain          this

counterclaim.            Therefore,       Resh's     counterclaim         for        declaratory

judgment of non-infringement is dismissed.

                 2. Counterclaim 2—Computer Fraud and Abuse

        Pro-Concepts       argues     that     Resh's     counterclaim          for     computer

fraud    and     abuse    should     be      dismissed     under    Rule        12(b)(6)          for

failure     to    state      a    claim.         Pro-Concepts          asserts         that       the

language    of     the    counterclaim         alleging     breach       of     the    Computer

Fraud     and    Abuse     Act     mirrors       the     language        in     18    U.S.C.        §

1030(a)(2).         Pro-Concepts          further      asserts     that       Resh     fails       to

state     sufficient        facts       to     support     the     claim        elements          of

intentional access,          "protected computer," and the jurisdictional

damage and loss prerequisites under 18 U.S.C.                       § 1030(a)(2).

     The       Court     agrees     with       Pro-Concepts'        argument           that       the

language used in Resh's             counterclaim 2 mirrors                that       used in 18


                                               13
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 14 of 41 PageID# 460



U.S.C.       §    1030(a)(2)            and    the    Court      therefore       interprets          Resh's

counterclaim as asserting a civil claim under                                        § 1030(g)       and §

1030(a)(2).

         With      regard          to    the       element      of    intentional          access,        Pro-

Concepts          argues        specifically                  that    Resh     fails         to     provide

sufficient details as to how, when, and what private information

was intentionally accessed by Pro-Concepts.                                    In support of this

argument,          Pro-Concepts               cites      to     Atlantic      Recording           Corp.     v.

Serrano,         2007 U.S.         Dist.       LEXIS 95203           (S.D. Cal.      Dec.     28, 2007),

a case that did not involve a pro se litigant. Of course,                                            due to

Resh's    status         as    a    pro       se    litigant,        the   Court      is    required        to

apply    a       less    stringent            standard          to   Resh's     pleadings          than     it

would    to       formal       pleadings.                In    his    factual     statements,             Resh

acknowledges            that       he    removed         his     servers      before       Pro-Concepts

could access them,                 seemingly negating any intentional access                                to

such    servers         by     Pro-Concepts.             However       Resh    never       mentions       any

recovery of the                "SDD drive"2 he previously references                                in his

factual          assertions         accompanying               his   counterclaims.                This     is

sufficient,             because         Resh       has        described       what     was        allegedly

accessed         ("SDD drive"),            when it was accessed (sometime after his

departure,         is the reasonable inference),                        and how it was accessed

(asserting              Pro-Concepts               maintained           physical           possession).

Therefore,         viewing the facts in the light most                               favorable to the


2 The Court believes "SDD drive" to be a typo of "SSD drive."
                                                         14
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 15 of 41 PageID# 461



non-movant,      in this instance Resh, he states a plausible claim

that Pro-Concepts intentionally accessed such drive.

        With regard to the disputed "protected computer"                             element,

18 USC       § 1030(e)(1)       &    2 define a        "protected computer"           as    "an

electronic,      magnetic,          optical,       electrochemical,         or    other    high

speed data processing device preforming logical,                            arithmetic,      or

storage       functions".       .     .     "which     is    used     in     or     affecting

interstate or         foreign commerce or communication."                         Resh states

that the "SDD[sic] drive" was at his former place of employment,

where it was presumably used in his work developing software for

Pro-Concepts.           Pro-Concepts         stated     in   the    Complaint       that    its

customers       "come    from       different       locations,      including       locations

outside the Commonwealth of Virginia."                       Thus it is plausible to

infer    that    the    "SDD[sic]         drive"    left by Resh       at    his    place    of

employment,      was    used in his          employment      developing software            for

sale in interstate commerce.                  Thus,    Resh has stated a plausible

claim for relief with regard to this factor as well.

        As   to the asserted failure of Resh to sufficiently allege

damages      and loss,       the Court notes          that   18    U.S.C.    §    1030(e)(11)

defines      "loss"    as:


        "any reasonable cost to any victim, including the cost
        of  responding  to an offense,    conducting a damage
        assessment, and restoring the data, program, system,
        or information to its condition prior to the offense,
        and   any  revenue  lost,  cost   incurred,  or  other
        consequential damages incurred because of interruption
        of service."


                                               15
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 16 of 41 PageID# 462



In order to pursue a civil action under 18 U.S.C. § 1030(g),                                                        a

"loss       to       1     or    more        persons        during       any        1-year       period,

aggregating at least $5,000 in value".                                       . . "limited to economic

damages"         must be alleged.                     Resh has alleged a loss exceeding

$100,000          in       the       counterclaim           and    a     loss       of     "$2,256,000"            in

rental fees in his allegation of background facts.

       It       is       not     within       the    Court's        discretion             to    rule       on    the

reasonableness                  of    these     allegations,             nor        their       likelihood         of

success.             Twombly,         550 U.S. at 556.                  At a Rule 12(b)(6)                   stage,

it    is    the      duty of           the    Court    to determine                 if    the claimant has

alleged sufficient                    facts     to plausibly state a claim for relief

and    the claim of a pro se litigant "can only be dismissed for

failure         to state a claim if it appears beyond doubt                                            that       the

plaintiff            can prove no              set    of     facts       in     support         of    his     claim

which would entitle him                        to relief."               Estelle,         429     U.S.      at    106

(internal citations omitted).

       Therefore,                viewing       the     facts       alleged           in    the       light       most

favorable            to     Resh       and     applying           the        less    stringent           standard

applicable            to    the       pleadings        of    pro        se    litigants,          Haines,         404

U.S.       at   520-521,             Resh has       stated a        plausible             claim      for    relief

with regard to the counterclaim for computer fraud and abuse.

                               3. Counterclaim 3—Civil Conspiracy

       Resh's            counterclaim           for    civil        conspiracy             alleges         damages

resulting            from       the    conspiracy between                    Pro-Concepts'           "employees

                                                        16
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 17 of 41 PageID# 463



O'Rourke    and Edwards."              However,       neither Mr.          O'Rourke nor Mr.

Edwards are parties to the instant action.                             Furthermore,       "under

the intracorporate immunity doctrine,                         acts of corporate agents

are acts         of the       corporation       itself,        and corporate          employees

cannot conspire with each other or with the corporation."                                     ePlus

Tech., Inc. v. Aboud, 313 F.3d 166, 179 (4th Cir. 2002).                                      Thus,

Resh has failed to state a claim for civil conspiracy because he

did   not    name       Mr.    O'Rourke        and    Mr.     Edwards       as     counterclaim

defendants.            Even   if     they    had     been     named,       this    counterclaim

would     fail    to    state      a   claim       for   relief      due     to    the   bar     of

intracroporate immunity.

      While the Court is required to interpret the pleadings of

pro se litigants liberally,                    it is not required                 to act as an

advocate and is not required to construct arguments not raised

by the pro se litigant.                 Erickson,        551 U.S.         at 94.     Therefore,

Resh's counterclaim 3, alleging civil conspiracy, fails to state

a claim for relief and is dismissed.

                       4. Counterclaim 4—Declaratory Relief

      Pro-Concepts           argues    for   the dismissal          of     this    counterclaim

for its failure to comport with the purpose of the Declaratory

Judgment     Act       and     the     inappropriateness             of     several      of     the

counterclaim       sub-claims          which    assert        defenses       to a     copyright

action,      as        the     instant         case      is     a      trademark         action.

Specifically,          Pro-Concepts          argues      that       the     purpose      of     the

                                                17
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 18 of 41 PageID# 464



Declaratory Judgment              Act     is    to     avoid      the    accrual     of    avoidable

damages to a party uncertain of its rights,                                while Resh's stated

purpose in the counterclaim is to prevent "fishing expeditions."

        Putting aside the issue of whether the described "fishing

expeditions" would cause the accrual of avoidable damages,                                           the

Court    agrees         that     those        "subclaims"         of     paragraph      86      of   the

Counterclaim that request relief based on defenses to copyright

claims    fail     to    state a claim for relief                      in the instant case as

there    can       be    no    relief         from     claims      which     are     nonexistent.

Furthermore,            several    of     the        "subclaims"          request       declaratory

judgment      on    several       issues       which        are   also     nonexistent          in   the

instant case.


        For     example,         "subclaim           (a)"     asserts       that     "Plaintiff's

technical method of attempting to identify infringement within

the     State      of     Virginia        is     legally          insufficient."                Answer,

5 86(a), ECF No. 16.               However,          there are no facts alleging that

Pro-Concepts        used any method of                 identifying         infringement other

than first person knowledge of the use of the trademark by Resh.

As such, this counterclaim "subclaim" fails to state a plausible

claim     for      relief,        even        under     the       less     stringent         pleading

standard applied to pro se litigants.

        "Subclaim         (b)"     asserts           "Plaintiff's          use     of      ex     parte

representations           of   fact      to    Courts       of    Record    within        the    United

States of America to obtain Defendant's protected confidential,

                                                  18
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 19 of 41 PageID# 465



and personal        information in a manner prohibited by FRCP,                                  Rule

1Kb)     and Federal Criminal Law."                      Answer,      5 86(b),       ECF No.       16.

However,      no ex parte representations of fact have been presented

to this Court-the only Court of Record involved in this matter-

to   obtain      protected       information.             As    such,    this        counterclaim

"subclaim"       fails    to    state a      plausible          claim     for       relief,      even

under     the   less     stringent pleading               standard applied               to pro     se

litigants.

        "Subclaim       (c)"    asserts      "Plaintiff's[sic]               misjoined          their

individual       claims    for       infringement         by    false    representation             of

ownership and/or control of copyrights.                         . . [and] that no relief

whatsoever can be granted to Plaintiff's[sic]                            because,          as such,

Plaintiffs are not             collectively the Real                 Parties in interest."

Answer,       3 86(c),    ECF No. 16.             However,          there is only a single

Plaintiff in the instant action and there has been no joinder.

Furthermore,       there       are   no   copyrights           at    issue     in    the    instant

case.      As   such,    Resh has         failed to        allege sufficient               facts    to

state     a     plausible       claim       for     relief          on   this        counterclaim

"subclaim,"       even     under      the    less        stringent       pleading          standard

applied to pro se litigants.

        "Subclaim       (d)"    asserts        "Plaintiffs            failed        to   join      all

known,        indispensable          parties        in     interest          who,        based      on

Plaintiffs'       own claims         of   infringement against               Defendant,          have

infringement claims such that complete relief cannot be afforded

                                               19
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 20 of 41 PageID# 466



unless and until all indispensable parties are joined."                                             Answer,

5   86(d),       ECF No.          16.        Resh   fails        to    state    in    his    Counterclaim

who    the alleged indispensable party is and fails                                         to state any

facts      supporting              his        allegation           that     there          might       be     an

indispensable              party        to    be    joined.           Therefore,          Resh     fails      to

state a claim for relief with regard to counterclaim "subclaim

(d) ."

         "Subclaim           (e) "           asserts       "Plaintiffs           are        barred          from

enforcing         copyright             claims      under        the     doctrines         of    Fair       Use,

Waiver,      and/or Laches by failure to affix identifiable copyright

notices        on      all        copyrighted          websites           namely          RISKRADAR.COM."

Answer,      5    86(e),      ECF No.           16.        However,       there are no            copyright

claims     at     issue       in     this       case    and      as    such,    this        "subclaim"        of

Counterclaim 4 fails to state a claim for relief and is subject

to dismissal pursuant                    to    Rule 12(b)(6).              Furthermore,           even were

the      Court        to     liberally             treat     these        copyright          defenses         as

defenses         to    Pro-Concepts             claim      of     trademark          infringment,           such

defenses         would       be     duplicative            of    Resh's        affirmative         defenses

and,     for     the       reasons       stated       above,       the    Court      would       decline      to

entertain the request for declaratory judgment.

         "Subclaim           (f)"            asserts        that         "Plaintiff's            claim        to

'statutory             damages'               under         17         U.S.C.         §         504(c)        is

unconstitutional."                      However,       as       Pro-Concepts          does       not     claim

statutory damages under 17                         U.S.C.       § 504(c),       Resh cannot request


                                                       20
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 21 of 41 PageID# 467



such relief.          Therefore,       Resh fails        to state a claim for relief

with regard to counterclaim "subclaim (f)."

        Thus,   as    discussed above,            Resh    fails    to   state a         claim for

relief in any of the "subclaims" of "Counterclaim 4. Declaratory

Relief,"      and    as     such    fails    to     state    a    claim    for     relief      with

regard to that counterclaim as a whole.                          Resh's counterclaim for

declaratory relief is therefore dismissed.

 5. Counterclaim 5—Breach of Implied Duty of Good Faith and Fair

                                             Dealing

        Pro-Concepts         argues    that       this    claim     should       be     dismissed

because there is no               independent cause of action for the breach

of     an    implied      covenant      of    good       faith    and     fair     dealing      in

Virginia.       Pro-Concepts'          assertion,        that    "the failure to act in

good faith does not constitute an independent tort" in Virginia,

is correct.          Goodrich Corp. v. BaySys Technologies,                        LLC, 873 F.

Supp. 2d 736, 742 (E.D. Va. 2012) (citing Charles E. Brauer Co.,

Inc.    v.   NationsBank of Va.,             N.A., 466 S.E.2d 382,                 385    (1996);

Allaun v. Scott,            59 Va. Cir.       461,    465 (2002)).              As the Supreme

Court of Virginia has noted:

        "Thus, while a duty of good faith and fair dealing
        exists under the U.C.C. as part of every commercial
        contract,      we    hold     that    the    failure       to     act    in     good
        faith    under        §     8.1-203       does      not     amount         to     an
        independent         tort.      The    breach        of    the   implied         duty
       under the U.C.C.             gives rise only to a cause of action
        for breach of contract."


Charles E. Brauer Co.,               Inc.,    466    S.E.2d at      385.         Moreover,     the


                                               21
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 22 of 41 PageID# 468



Goodrich Court held that where an allegation of "breach of the

implied duty of good faith and fair                                  dealing       is    sufficiently

plead       as     a      mechanism          through       which        [Defendant]           allegedly

breached its contract,"                     it is    "incorporated under the umbrella

of    a     breach        of     contract      claim"          and     is    not     viewed          as    an

allegation of an independent tort.                          Goodrich Corp., 873 F. Supp.

2d at 742.


          In his       counterclaims,          Resh       does       not    allege       breach       of    a

contract,          such     as    the       employment          agreement      attached          to       the

complaint, at any point.                     Furthermore, Resh does not allege any

facts in this particular counterclaim (for breach of the implied

duty of good faith and                      fair dealing)            that assert         a breach          of

contract by Pro-Concepts.                     This counterclaim merely alleges that

Resh reasonably relied on Mr.                        O'Rourke's statements regarding

potential          ownership           interests          in     the        company       to         Resh's

detriment.


        Counterclaim 5-alleging breach of the implied duty of good

faith      and     fair        dealing-is      not       pled    as    a    breach       of     contract

claim.       Therefore,          the Court views the allegations as an breach

of    contract         claim.          As     explained         above,       there       is     no     such

independent cause of action under Virginia law.                                      As such,          Resh

has       failed       to      state    a     claim       for        relief.            Thus,        Resh's

"Counterclaim 5" for breach of the implied duty of good faith

and fair dealing is dismissed pursuant to Rule 12(b)(6).

                                                    22
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 23 of 41 PageID# 469



                       6. Counterclaim 6—Equitable Estoppel

        Pro-Concepts asserts that Resh's counterclaim for equitable

estoppel        should      be    dismissed          for       failure           to    state           a    claim       as

there is no recognized cause of action for equitable estoppel in

Virginia.           Pro-Concepts'               assertion                  is        correct           as,            "[i]n

Virginia,         'there         is      no     recognized                 cause         of        action               for

[equitable] estoppel,' and the doctrine is usually asserted as a

'shield' rather than a 'sword.'"                               Virginia Power Energy Mktg.,

Inc. v. EOT Energy,               LLC,   3:11CV630,                2012 WL 2905110 at *10, 2012

U.S.    Dist.     LEXIS 98553 at               *29        (E.D.       Va.        July        16,       2012)           (not

reported)       (citing Parker v. Westat,                           Inc.,       301 F.        Supp.          2d 537,

544     (E.D.    Va.     2004)         (citing       Meriweather                Mowing         Serv.             v.    St.

Anne's-Belfield,            Inc., 51 Va.             Cir. 517,              519       (Va.    Cir. 2000))).

Thus,     Resh    has       failed       to    state           a     claim       for     relief              and       the

counterclaim for equitable estoppel                                  is     dismissed pursuant                          to

Rule 12(b)(6).

                                  7.    Counterclaim 6—Fraud


        Pro-Concepts         argues           that    Resh's               counterclaim                    for    fraud

should be        dismissed because               he       1)       fails        to    state        a       claim       for

fraudulent inducement under Virginia state law,                                          and 2)             fails to

plead     the     claim          with    sufficient                 particularity                  pursuant             to

Federal     Rule       of    Civil       Procedure                 9(b).          Resh's           counterclaim

states    that     Resh      "reasonably relied                      on     misleading              statements,

omissions, and actions of Plaintiff" and that Pro-Concepts "took

                                                     23
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 24 of 41 PageID# 470



such actions fraudulently to induce Defendant to enter into the

Employment Agreement."                   Answer, 5 93-94, ECF No.                   16.

         "To state a            cause of action for fraudulent inducement
        of contract under Virginia law,     a plaintiff must
        allege that the defendant made 'misrepresentations
        [that] were "positive statements of fact, made for the
        purpose of procuring the contract;      that they are
        untrue; that they are material; and that the party to
        whom they were made relied upon them, and was induced
        by them to enter into the contract."'        Lucas v.
        Thompson, 61 Va. Cir. 44, 2003 WL 483831 (Va. Cir. Ct.
        2003) (quoting Brame v. Guarantee Fin. Co., 139 Va.
        394, 124 S.E. 477 (1924))."

 Enomoto       v.       Space   Adventures,         Ltd.,         624    F.    Supp.       2d 443,        452

(E.D.     Va.       2009).          Furthermore,             to     "satisfy          Rule        9(b),     a

plaintiff asserting a claim under the Act                                    'must, at a minimum,

describe        the        time,         place,      and          contents          of      the      false

representations,            as well        as the identity of the person making

the    misrepresentation             and    what        he     obtained        thereby.'          U.S.     ex

rel.    Nathan v. Takeda Pharm.                   N. Am.,       Inc.,        707   F.3d 451,        455-56

(4th Cir. 2013) (quoting United States ex rel. Wilson v. Kellogg

Brown & Root,           Inc.,     525 F.3d 370,          379    (4th Cir.          2008)).

        Resh    alleges           that    Mr.      O'Rourke,            of    Pro-Concepts,           made

material        representations             to     him       that       he    could        purchase        an

ownership interest                in Pro-Concepts            and    that Mr.         O'Rourke        later

refused to          enter into such an agreement.                              However,       Resh does

not    allege       that    Mr.    O'Rourke's        representations                of     fact    induced

him to enter into the employment contract.                                    Rather,       Resh states

that    "[a]s       a    result     of    O'Rourke        and      Edwards         [sic]    refusal        to


                                                   24
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 25 of 41 PageID# 471



write     a    letter        of    recommendation              force       [sic]      was        forced       to

accept    employment          with       Pro-Concepts           under      terms      and       conditions

that    were not        favorable         to    Resh."          Answer,      f     46,      ECF No.          16.

Resh     also    states           that    " [a] fter       several         attempts         by        Resh    to

establish        an      employment            plan       with     interest           sharing,           Resh

realized that O'Rourke had no intention of offering any type of

profit        sharing       which     was      in     contrast        to    O'Rourke's            original

statements of ownership."                     Id. at f 49.

       The facts alleged by Resh do not support an assertion that

Resh     was     fraudulently            induced          to    enter      into       the       employment

contract.        To the contrary,              they support only the inference that

Mr.    O'Rourke made one representation and then,                                  prior to Resh's

entrance         into       the      employment            contract,           made         a     contrary

representation.                   Thus,        Resh       was     aware          that           the     first

representation of an offer of ownership interest was no longer

on the table prior to entering into the employment contract.

       For the reasons stated,                      Resh has failed to allege a cause

of    action     for        fraudulent         inducement         under      Virginia            law     that

satisfies the general pleading standards of Rule 8, Twombly, and

Iqbal.         Resh     has    also       failed      the      Rule     9(b)       requirement           that

fraud be pleaded with particularity as Resh has failed to allege

what specific statements or representations were made, when they

were     made,        and     where       they       were       made.          Therefore,              Resh's

counterclaim          for     fraud      is    dismissed pursuant                to    Rule       12(b)(6)

                                                     25
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 26 of 41 PageID# 472



for failure to state a claim for relief.

          B.    Defendant's Motion to Dismiss Plaintiff's Claims

     Resh does not expressly state the grounds on which he seeks

dismissal of Pro-Concepts'                     claims.          The Court interprets Resh's

motion     as a           Rule   12(c)        motion      for    judgment      on    the pleadings

based on the timing of Resh's                          filing of       the motion to dismiss,

and based on              Resh's       assertion       that      "Defendant's        Responses      and

Defenses        as        stated       in      his     Answers         and    Counterclaims         are

sufficient           to    dismiss       Plaintiff's            claims."           Def.'s   Mot.     to

Dismiss,       9t 11,      ECF No.       24.         Since Resh filed an answer to                  the

complaint        on January             23,     2013,      prior       to    the    filing of       the

instant motion,              the motion          "is properly           filed not       under      Rule

12(b)(6),       but instead under Rule 12(c)."                          Sherman v.      Litton Loan

Servicing,       L.P.,       796 F.         Supp.      2d 753,     757-58      (E.D.    Va.    2011);

Walker     v.    Kelly,          589    F.3d     127,      139     (4th      Cir.    2009).        This

conversion of Resh's motion from a motion to dismiss to a motion

for judgment on the pleadings                          is necessary because Rule 12 (b)

provides       that "[a]         motion asserting any of these defenses must

be made before pleading if a responsive pleading is allowed."

See Edwards,          178 F.3d at 243.                  This conversion is accomplished

through        the    operation          of     Fed.      R.    Civ.    Pro.       12(h)(2),    which

allows a party to raise the defense of                             failure to state a           claim

for relief under Rule 12(b)(6) after a responsive pleading has

been made by way of a motion for judgment on the pleadings under

                                                     26
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 27 of 41 PageID# 473



Rule 12(c).

       Furthermore,          Resh       asserts      a       defense      of    failure    to    state    a

claim    for    relief       within         his     Answer,        but    does    not     contest       the

Court's jurisdiction over this case.                               Accordingly,         Resh's motion

is most      fairly     interpreted as                   a    request      for    judgment       on     the

pleadings based on Fed. R. Civ. Pro. 12(b)(6).                                     See Walker,          589

F.3d    at   139     (Rule       12(c)       motions         are    "assessed      under        the    same

standard that applies to a Rule 12(b)(6) motion.").

       Since     Resh       is    proceeding             as    a    pro    se     litigant,       it     is

understandable          that          Defendant's            motion      fails     to     cite    proper

legal authority and appears                        to confuse various              legal     theories.

In order to ensure proper consideration of Defendant's arguments

and clarity of        the Court's decision,                        the Court will address the

motion paragraph by paragraph.

        1. Paragraphs 1-10 of Defendant's "Motion to Dismiss"

       Paragraphs       1    and        2   re-affirm Resh's               status       as a pro         se

litigant       proceeding             without       the       benefit      of     counsel.            While

Resh's pro se status affects the Court's consideration of Resh's

pleadings      due    to     the        less       stringent        standard applied             to     the

pleadings of a pro se litigant,                           it does not affect the Court's

consideration of Pro-Concepts' pleadings under Rule 8,                                          Twombly,

and Iqbal.

       Paragraphs       3,       4,    and     7    contain        assertions       and    statements

regarding       a    settlement             conference             between       the    parties        and

                                                     27
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 28 of 41 PageID# 474




conduct       and        statements              allegedly             made      by     Plaintiff            or

Plaintiff's         counsel         during          the        settlement       conference.             Under

Federal Rule of Evidence 408(a)(2),                               "conduct or a statement made

during compromise negotiations about                                  the claim"      is inadmissible

"to prove or disprove the validity or amount of a disputed claim

or      to   impeach          by        a     prior            inconsistent          statement         or     a

contradiction."                   Due       to      the        operation       of     Fed.       R.     Evid.

408(a)(2),         the        Court         is      prohibited            from       considering            the

statements and assertions made by Defendant in paragraphs                                               3,    4

and 7 of Defendant's motion.


        Paragraph        6    merely          restates           the     affirmative         defense         of

innocence already alleged in Defendant's Answer, which, as part

of the Answer,           is already within the Court's purview on a Rule

12(c)    motion.         Additionally,                as it is Pro-Concepts' pleadings,

not     Resh's,     which          are      under          scrutiny       on     Resh's      motion         for

judgment      on    the       pleadings,              Resh's          assertions      of     affirmative

defenses are irrelevant to the Court's analysis.

        Paragraphs           5,     8,        and      9       comprise        new    allegations            of

misconduct on the part of Plaintiff and Plaintiff's counsel.                                                 A

motion       for    judgment             on      the       pleadings,          where       the        court's

consideration            is       limited             to        the     Complaint          and        Answer,

Mendenhall,        856       F.    Supp.         2d       at    724,     is    not    an     appropriate

vehicle for new assertions regarding misconduct by the opposing

party.       Furthermore,          excluding the above inadmissible assertions


                                                       28
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 29 of 41 PageID# 475




regarding         statements                   made         at         the     settlement               conference,

Defendant        offers              no        factual       basis            for     the        allegations          of

misconduct on              the part            of     Plaintiff          and    Plaintiff's              counsel      in

paragraphs            5,        8,        and        9;      notwithstanding                 paragraph              10's

elaboration upon the alleged harm to Defendant's reputation and

ability     to        secure          employment             caused           by     this        suit,     and       his

attempts       to          provide             further           evidence           in      support        thereof.

Despite Resh's status as a pro se litigant,                                               it is not           for the

Court to act as an advocate for Resh, nor is it the Court's duty

to    remedy     Resh's          procedural                error       and     search        for       support       for

these allegations.

       While      the          Court           is    required           to     liberally           construe          the

pleadings        of        a    pro       se        party,       the     Court        may     not       act    as     an

advocate       and         construct            a    pro     se        party's       arguments           for    them.

Erickson,        551        U.S.          at    94;       Garrett        v.     Selby        Connor       Maddux       &

Janer,     425       F.3d        836,          840        (10th    Cir.        2005)         (citing       Hall       v.

Bellmon,       935     F.2d          1106,          1110     (10th       Cir.        1991)        ("[W]e       do   not

believe     it       is        the    proper          function           of     the       district        court       to

assume     the        role           of    advocate              for     the        pro     se     litigant.")).

Despite     this,              "it        is        incumbent           on      [the        court]        to        take

appropriate measures to permit the adjudication of pro se claims

on the merits,             rather than to order their dismissal on technical

grounds."        Donald v.                 Cook Cnty.             Sheriff's Dep't,                 95    F.3d 548,

555   (7th Cir.            1996);          see also Gordon v.                       Leeke,       574    F.2d 1147,

                                                            29
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 30 of 41 PageID# 476



1151     (4th    Cir.        1978)    (where     the       Fourth     Circuit      adopted       the

phrasing    of     the       district       court     in    Canty     regarding      case    law—

"'district courts must be especially solicitous of civil rights

plaintiffs.        .    .     [accordingly,           the    Court     in    considering         the

defendants' motion to dismiss will not permit technical pleading

requirements       to        defeat    the     vindication       of    any     constitutional

rights which the plaintiff alleges,                         however inartfully,          to have

been infringed.'" Canty v. City of Richmond,                            Va.,    Police Dept.,

383    F.Supp.    1396       (E.D.    Va.    1974),    aff'd,    526    F.2d 587      (4th Cir.

1975),   cert, denied,          423 U.S.       1062    (1976)).

       However,        the    United        States    Supreme       Court    has    stated       "we

have    never     suggested          that    procedural       rules     in     ordinary     civil

litigation       should be           interpreted so as           to excuse         mistakes      by

those who        proceed without            counsel."         McNeil    v.     United    States,

508 U.S. 106, 113 (1993)                ("As we have noted before,                 'in the long

run,    experience teaches that strict adherence to the procedural

requirements specified by the legislature is the best guarantee

of    evenhanded administration of                   the law.'").           Therefore,      it    is

not    the duty of          the Court       to amend Defendant's             counterclaims        to

include the allegations which Defendant asserts in his motion to

dismiss.        Nor is it        the duty of          the Court to search the record

for factual, valid, and admissible support for these arguments.3



3 "Thus, although we make some allowances for 'the [pro se] plaintiff's
failure to cite proper legal authority, his confusion of various legal

                                                30
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 31 of 41 PageID# 477




Garrett,        425   F.3d at    840.     Thus,       the Court   is not required to

remedy Defendant's error in attempting to assert new allegations

of misconduct through the inappropriate vehicle of a judgment on

the pleadings.

      For       the   reasons    stated above,         the   Court    may not    consider

paragraphs        3-5    and 7-10   of    Defendant's        motion   for   dismissal    of

Plaintiff's claims.             Paragraphs 1, 2, and 6 restate factors and

a defense,        which are all already presented in Resh's Answer and

Counterclaims           and which do not        affect       the Court's     analysis    of

Pro-Concepts' claims under Rule 12(b)(6).                      Therefore, paragraphs

1-10 are inadmissible or irrelevant to the Court's analysis of

Resh's motion for a judgment on the pleadings.

           2.    Paragraph 11 of Defendant's "Motion to Dismiss"

      As discussed above,           the Court interprets Resh's               "Motion to

Dismiss      Plaintiff's        Claims"    as     a   motion    for   judgment    on    the

pleadings.         The same standard applies to a Rule 12(c) motion for

judgment on the pleadings as applies                     to a Rule 12(b)(6)        motion

to dismiss.           Walker,    589 F.3d at 139.             As such,      Pro-Concepts'

claims will be dismissed if,                drawing all        reasonable inferences

in   favor       of     the   non-movant    (Pro-Concepts),           Pro-Concepts      has

failed to allege facts sufficient to state a plausible claim for


theories, his poor syntax and sentence construction, or his
unfamiliarity with pleading requirements[,]' Hall, 935 F.2d at 1110,
the court cannot take on the responsibility of serving as the
litigant's attorney in constructing arguments and searching the
record."        Garrett,   425 F.3d at 840.

                                            31
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 32 of 41 PageID# 478




relief.       Kensington Volunteer Fire Dep't, 684 F.3d at 467; Iqbal

556 U.S.      at 678.


        Pro-Concepts      asserts       that Resh has         failed to sufficiently

argue for dismissal of Pro-Concepts' claims and that in any case

dismissal of Pro-Coneepts' claims would be inappropriate as they

meet    the    general    pleading       standards      of    Federal     Rule    of    Civil

Procedure 8.         It is true that,              generally,    "[t]he party moving

for dismissal has the burden of showing that no claim has been

stated."       James     Wm.   Moore,    et    al.,    Moore's    Federal       Practice      -

Civil     § 12.34(1)(a)        (3d ed.     2010).          Furthermore,     as district

courts     "cannot      take   on    the responsibility           of     serving       as   the

litigant's attorney in constructing arguments and searching the

record," Garrett, 425 F.3d at 840, those courts are not required

"to conjure up           questions never            squarely presented           to    them."

Beaudett      v.   City of Hampton,            775 F.2d        1274,     1278    (4th Cir.

1985) .       However,     Resh,     as a pro         se     litigant,    has    at     least

presented the Court with the question of whether Pro-Concepts

has failed to state a claim for relief.                         Therefore,       the Court

will examine below whether Pro-Coneepts has complied with the

pleading standards of Rule 8, Iqbal and Twombly.

        As already stated,          Pro-Concepts asserts seven claims in its

Complaint; Count I-trademark infringement under the Lanham Act,

Count II-false designation of origin under 15 U.S.C. § 1125(A),

Count     Ill-cybersquatting under             18   U.S.C.     § 1125(d),        Count      IV-

                                              32
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 33 of 41 PageID# 479



unfair       competition under Virginia                    state     law,    Count V-trademark

dilution under Virginia                   state     law,     Count Vl-breach of              contract

under        "Virginia         common        law,"         Count      Vll-conversion                under

"Virginia       common        law."        Compl.,      ECF    No.     1.      The       Court       will

examine each count to determine whether it sufficiently states a

claim for relief under the Rule 12(b)(6)                             standard utilized in a

Rule 12(c) motion for judgment on the pleadings.

        Count    I,     which       claims         trademark        infringement          under       the

Lanham Act, will be analyzed in conjunction with Count IV, which

claims       unfair     competition           under        Virginia       state     lav;,       because

"[t]he elements of trademark infringement and unfair competition

under    the    Lanham        Act    are     identical        to    the     elements      of     unfair

competition under Virginia state law. "                            Gov't Employees Ins. Co.

v.    Google,        Inc.,    330     F.     Supp.      2d    700,    702     (E.D.       Va.       2004)

(citing Lone Star Steakhouse & Saloon v. Alpha of Virginia,                                            43

F.3d 922,       930 n. 10      (4th Cir.       1995)).

        "A    plaintiff        alleging           causes      of     action        for      trademark

infringement          and     unfair        competition            must     show     1)     that       it

possesses a mark;             2)    that    the defendant used the mark;                       3)    that

the defendant's use of the mark occurred "in commerce";                                        4)    that

the    defendant        used        the     mark     "in     connection        with       the       sale,

offering       for    sale,     distribution,           or    advertising"          of    goods       and

services;       and    5)    that     the    defendant        used    the    mark     in a      manner

likely to       confuse customers."                 Gov't Employees Ins.              Co.,      330 F.

                                                   33
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 34 of 41 PageID# 480




Supp.    2d     at    702.           Pro-Concepts         has    successfully          alleged        that

Resh used the mark and that Resh's use was "in commerce" through

assertions of Resh's registration and use of                                  the "RRE" website,

www.riskradarenterprise.com.

        With    regard          to    the    first      element,       a plaintiff           must     also

allege that a particular mark is eligible for protection,                                           which

requires a mark be more than merely descriptive.                                      Buffalo Wings

Factory,       Inc. v. Mohd,            622 F. Supp.           2d 325,    334    (E.D. Va.         2007).

Pro-Concepts          has        done       so   through        its    submittal        of     a    valid

federal    trademark             registration with              the    Complaint,        as    a    valid

federal        trademark             registration         is     prima        facie     evidence        of

eligibility          for    protection             because      "the     Patent       and     Trademark

Office may not grant registration to a mark which it finds to be

'merely descriptive.'"                      Pizzeria Uno Corp.            v.    Temple,       747     F.2d

1522,    1528        (4th Cir.          1984);      Compl. , Ex.         1,    ECF No.        1.      Pro-

Concepts       also     satisfactorily               alleged      the     required       element        of

possession of          the mark by Pro-Concepts                        through    the       submittal,

with    the     Complaint,            of     the    trademark         assignment        naming        Pro-

Concepts as the new owner of the mark "Risk Radar."                                      Compl., Ex.

2,   ECF No.    1.

        Additionally,             with       regard       to    the     fourth        element,        Pro-

Concepts       need        not       allege      that     Resh    actually        sold        goods     or

services       using       the       registered mark.             "In    the    Fourth        Circuit's

PETA decision,             it    specifically           rejected       the     argument       that     the

                                                     34
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 35 of 41 PageID# 481




defendant's       use    of    the   PETA    trademark    in a    domain name was            not

in   connection        with     goods    and    services:       '[the   defendant]           need

only have prevented users                from obtaining or using PETA's goods

or services,          or need only have connected the website to other's

goods or services.'"                Gov't Employees Ins. Co., 330 F. Supp. 2d

at     703   (citing        People     for    Ethical     Treatment       of       Animals     v.

Doughney,       263    F.3d 359,       365   (4th Cir.    2001)).       Thus,       with this

understanding          of     the    element    "in     connection      with        goods    and

services,"       Pro-Concepts          has   pled     sufficient      facts     to     state    a

claim for relief on both Count I and Count IV of the Complaint.

        With respect to the false designation of origin claim,                               the

Fourth Circuit has stated that,                     in order to prevail on a claim

of false designation of origin,                   a plaintiff must prove the same

five     elements       as     discussed       above    with     regard       to     trademark

infringement and unfair competition.                     Lamparello v. Falwell, 420

F.3d    309,     313    (4th    Cir.     2005).        Thus,    for   the      same    reasons

discussed       above,       Pro-Concepts       has    also     sufficiently          stated    a

plausible claim for relief as to Count                         ll-false designation of

origin under the Lanham Act.

        With regard to Count III, cybersquatting under 15 U.S.C.                                §

1125(d),       the Anticybersquatting Consumer Protection Act                         ("ACPA")

"creates a cause of action for cybersquatting against anyone who

registers,      traffics       in,   or uses a domain name            that is identical

or confusingly similar to a                  trademark with the bad faith intent


                                               35
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 36 of 41 PageID# 482




to   profit    from     the   good     will    associated     with     the    trademark."

Hawes    v.   Network Solutions,            Inc.,    337   F.3d 377,    383    (4th Cir.

2003)     (citing       15    U.S.C.    §     1125(d)(1)).           Pro-Concepts      has

sufficiently       alleged      a    claim     for   relief    with    regard     to   the

elements of registration and use of the domain name by Resh,                            as

well as the element requiring that the domain name be "identical

or confusingly similar to" Pro-Concepts' trademark.

        However,   Pro-Concepts must also have plausibly alleged that

Resh's registration and use of                 the   domain name was done with a

bad faith intent to profit,              utilizing the standard in 15 U.S.C

§1125(d)(1).4       The facts alleged in the Complaint state that Resh


4 "(i) In determining whether a person has a bad faith intent described
under subparagraph (A), a court may consider factors such as, but not
limited to--
        (I) the trademark or other intellectual property rights of the
        person, if any, in the domain name;
        (II) the extent to which the domain name consists of the legal
        name of the person or a name that is otherwise commonly used to
        identify that person;
        (III) the person's prior use, if any, of the domain name in
        connection with the bona fide offering of any goods or services;
        (IV) the person's bona fide noncommercial or fair use of the mark
        in a site accessible under the domain name;
        (V) the person's intent to divert consumers from the mark owner's
        online location to a site accessible under the domain name that
        could harm the goodwill represented by the mark, either for
        commercial gain or with the intent to tarnish or disparage the
        mark, by creating a likelihood of confusion as to the source,
        sponsorship, affiliation, or endorsement of the site;
        (VI) the person's offer to transfer, sell, or otherwise assign
        the domain name to the mark owner or any third party for
        financial gain without having used, or having an intent to use,
        the domain name in the bona fide offering of any goods or
        services, or the person's prior conduct indicating a pattern of
        such conduct;
        (VII) the person's provision of material and misleading false
        contact information when applying for the registration of the

                                              36
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 37 of 41 PageID# 483




acquired the domain "on behalf of ASC, who then owned rights to

the Mark"          and    that      upon   the    transfer           of    trademark rights            from

ASC    to    Pro-Concepts,             Resh   redirected             the        domain    to   the     Pro-

Concepts website at                 Pro-Concepts           request.             Compl.,    5 20      & 22,

ECF    No.    1.         However,      Resh's         later    alleged          redirection       of    the

domain away from the Pro-Concepts website is sufficient, viewing

all    reasonable           inferences           in     favor        of     Pro-Concepts         as     the

nonmoving party,               to   create a plausible                    inference of         bad    faith

intent       to profit.             Thus,     Pro-Concepts                has    alleged sufficient

facts to state a claim for relief on Count III.

       In    Count        V,     Pro-Concepts          requests           relief     under      Virginia

state law for trademark dilution.                              However,           Virginia does not

have    a trademark dilution law.                          Circuit         City Stores,          Inc.    v.

OfficeMax,          Inc.,        949    F.    Supp.           409,        418     (E.D.    Va.        1996)

(explaining that prior to the enactment of the Federal Trademark


       domain name,         the person's intentional failure to maintain
       accurate contact information, or the person's prior conduct
       indicating a pattern of such conduct;
       (VIII) the person's registration or acquisition of multiple
       domain names which the person knows are identical or confusingly
       similar to marks of others that are distinctive at the time of
       registration of such domain names, or dilutive of famous marks of
       others that are famous at the time of registration of such domain
       names, without regard to the goods or services of the parties;
       and
       (IX) the extent to which the mark incorporated in the person's
       domain name registration is or is not distinctive and famous
     within the meaning of subsection (c) of this section.
(ii) Bad faith intent described under subparagraph (A) shall not be
found in any case in which the court determines that the person
believed and had reasonable grounds to believe that the use of the
domain name was a fair use or otherwise lawful."
15 U.S.C.A. § 1125(d)(1)(B).

                                                      37
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 38 of 41 PageID# 484



Dilution       Act,          "owners      of    locally       famous      marks     in   states      like

Virginia, which do not have trademark dilution laws, might have

had no recourse against                        the actions of businesses                 using their

marks when confusion was not likely.")                               As Pro-Concepts is not a

pro    se litigant,             the Court         is not          required     to interpret          Pro-

Concepts pleading liberally and as a plaintiff cannot                                          request

relief under a law which does not exist, Pro-Concepts has failed

to     state       a     claim      for      relief        from     trademark       dilution        under

Virginia state law.

        With regard to Count VI,                           Pro-Concepts       alleges that Resh

breached the employment contract between Pro-Concepts and Resh

by     failing          to     return        copies     of        Pro-Concepts        software       upon

request.           "The elements of              a Virginia breach of               contract claim

are:    (1)    a legally enforceable obligation of                                a defendant        to a

plaintiff,             (2)    the     defendant's           violation        or    breach     of     that

obligation, and (3) resulting injury or harm to the plaintiff."

Enomoto       v.       Space    Adventures,           Ltd.,       624   F.    Supp.      2d   443,    449

(E.D. Va. 2009) (citing Filak v. George, 267 Va. 612, 594 S.E.2d

610, 614 (2004)).                Pro-Concepts has alleged that Resh took their

software       and           failed     to     return        it    upon      termination       of     his

employment,            as required by the employment contract attached to

the Complaint,               thus resulting in injury to Pro-Concepts from the

cost of reconstructing the software.                                Compl.,       f 25-27 & Ex. 3,

ECF No. 1.             Therefore,       Pro-Concepts has alleged sufficient facts

                                                      38
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 39 of 41 PageID# 485




to state a plausible claim for breach of contract.

       In     Count           VII,     Pro-Concepts         claims       conversion        by     Resh    of

Pro-Concepts'                 software       through      his    refusal       to   return        it    upon

termination of his employment.                            "In Virginia,         a conversion claim

requires (1) ownership or right to possession of property at the

time     of        the        conversion,        and       (2)     the       defendant's         wrongful

exercise of dominion or control over the plaintiff's property,

depriving the plaintiff of possession."                                  Enomoto,         624 F.       Supp.

2d at 457 (citing United Leasing Corp. v. Thrift Ins. Corp., 247

Va.    299,    440 S.E.2d 902,                 905 (1994)).             Therefore,        Pro-Concepts

has also alleged sufficient facts to state a plausible claim for

conversion,              as    Pro-Concepts        has      alleged          that   Resh        took    Pro-

Concepts'          software with              the intent to deprive                 Pro-Concepts of

such software.


       In summary,              Pro-Concepts appears to allege facts sufficient

to state a plausible claim for relief with regard to Counts I,

II,    III,        IV,    VI,     and VII        and,      thus,    to have met            the    general

pleading       standards               set   forth        in Rule       8,    Iqbal       and Twombly.

However,       Pro-Concepts              failed      to    state    a    claim      for    relief      with

regard        to     Count        V,     which     alleged         trademark        dilution           under

Virginia state law.                     Therefore, Defendant's motion for judgment

on the pleadings                 is denied with respect                  to Counts         I,    II,    III,

IV, VI, and VII, but granted with respect to Count V.




                                                      39
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 40 of 41 PageID# 486




                                          IV.       CONCLUSION


        The    Court       has     determined             that       a    hearing        on    the     instant

motions       is    unnecessary,          as        the       facts       and    legal      arguments        are

adequately          presented,       and       the       decisional             process       would not      be

aided      significantly           by     oral       argument,             see    Fed.         R.     Civ.    P.

78(b);       E.D.    Va.    Loc.    Civ.       R.    7(J).       Therefore,            the Court        DENIES

Plaintiff's Request for a Hearing on Defendant's and Plaintiff's

motions       to dismiss.          ECF No.       26.


        Based on the detailed analysis above,                                   the Court GRANTS,             in

part,        and    DENIES,        in     part,           Plaintiff's             Motion        to    Dismiss

Defendant's          Counterclaims.                  ECF       No.        21.         The     Court     GRANTS


Plaintiff's Motion to Dismiss Defendant's Counterclaims 1, 3, 4,

5,    6,     and    7,     because,       even           viewing         all     facts      and      plausible

inferences          in     favor     of     Defendant             under          the     less        stringent

standard applied to pro se litigants,                                    Defendant       failed to state

a claim for relief with respect to Counterclaims 1, 3, 4, 5,                                                  6,

and     7.          The     Court       DENIES            Plaintiff's             Motion        to     Dismiss


Defendant's Counterclaim 2 for Computer Fraud and Abuse,                                               because

applying       the       less    stringent          standard             for pro       se     litigants      and

viewing all facts and inferences in Defendant's favor,                                               Defendant

states a plausible claim for relief.

        For        the     reasons        stated          above,           Defendants'            Motion      to

Dismiss,       which        is     treated          as    a     Motion          for    Judgment        on    the

Pleadings,          is    DENIED,    in part,             and GRANTED,                in part.        ECF No.


                                                         40
Case 2:12-cv-00573-LRL Document 34 Filed 02/11/14 Page 41 of 41 PageID# 487



24.      Defendant's        Motion       to    Dismiss          is    DENIED        with    regard         to

Plaintiff's       Counts     I,    II,    III,          IV,    VI,    and    VII    because,      after

viewing     the    facts    and    all    reasonable             inferences         in     Plaintiff's

favor,     Defendant       has    not    shown           Plaintiff's         failure       to   state       a


claim for     relief       with    regard          to    Counts      I,    II,    III,    IV,   VI,       and

VII.       Defendant's          Motion        to    Dismiss          Plaintiff's          Count       V    is

GRANTED,     because        even    viewing              the    facts       and     all     reasonable

inferences        in    Plaintiff's       favor,           Plaintiff         failed        to   state       a

claim for relief with respect to Count V.

        The Clerk is requested to send a copy of                                  this Opinion and

Order    to all    counsel       of record.


        It is SO ORDERED.




                                                                                   Is/
                                                                          Mark S.    Davis
                                                              UNITED STATES DISTRICT JUDGE
Norfolk,    Virginia
February     I|        , 2014




                                                    41
